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                                  IPP International U.G. Declaration Exhibit A
                                   File Hashes for IP Address 73.211.235.180

ISP: Comcast Cable Communications Management, LLC
Physical Location: Lansing, IL



Hit Date UTC           File Hash                                Title
11/10/2017 06:28:41    5FD28AA7ADD967571F60FB7B519EC4F06AAA0F0D Born To Be Wild

11/10/2017 06:24:35    507D295A735F5464F4C3DB79DC495B3077D31578          Piano Concerto

11/10/2017 06:24:18    E3B203419FB0600C8FEDA0E9A4EECBB9E77576D8          Want To Fuck My Wife

08/28/2017 05:13:55    29E48CB0C760C5B0BD131F13C1920C42AFE71735          Pure Gold

06/30/2017 03:50:49    C176D96FC8DF3E98334F2D76D487D9A7506CC883          Black Lace and Blonde Hair in My Bed

03/24/2017 04:14:38    27BBB5802EAB51683B352E88A98F380B88B68FA1          Deep Inside Gina

03/05/2017 04:57:20    075941EEEA64DE823DA5BF23CD008B745734B738          Afternoon Snack


Total Statutory Claims Against Defendant: 7




                                                  EXHIBIT A
NIL833
